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Exhibit 13 — July 24, 2023
   Inspection Report
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                                        Animal and Plant Health Inspection Service                           INS-0000882220

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Elena and Andrey Mikirtichev                                                     Customer ID: 500902
3000 BENSLEY RD                                                                    Certificate: 52-B-0175
NORTH CHESTERFIELD, VA 23237
                                                                                          Site: 001
                                                                                               Elena and Andrey Mikirtichev



                                                                                         Type: ROUTINE INSPECTION
                                                                                         Date: 24-JUL-2023

2.40(b)(2)               Direct               Repeat
Attending veterinarian and adequate veterinary care (dealers and exhibitors).
Two cats were not provided with adequate veterinary care.

 - An approximately three-week-old male brown tabby kitten with white feet (no microchip number yet) was not provided
with adequate veterinary care. Shortly following this kitten’s birth, the licensee identified that it had a malformation where
the chest is compressed upwards in the direction of the spine. Despite recognizing the condition, the licensee did not
report it to the attending veterinarian (AV), instead choosing to treat it himself. The licensee stated that since he has seen
kittens like this in the past, he tried to splint the chest cavity himself but was unsuccessful. The licensee also stated that
he does not report this condition to the AV for treatment until they are approximately 6 months old because he believes
that they are not old enough for treatment until that time. When the kitten was handled during inspection, it began having
difficulty breathing. The kitten began gasping and struggling to breath with large abdominal movements. After being
returned to his mother the kitten began breathing more normally. Failure to provide appropriate treatment for this condition
can result in heart and lung complications as well as reduced growth.

 - One 3-year-old female calico cat with a malformed right front foot (Microchip# 900215001896851) was identified as
having bright red inflamed gums around the base of each tooth. The licensee stated that his cat had been previously
identified and was examined by the attending veterinarian and under treatment. The attending veterinarian confirmed that
she had examined the cat in April 2023 and prescribed medications for initial treatment. Additionally, the AV
recommended following up with dental procedure to treat and further diagnose the cause of this inflammation. At this time,
the licensee has not scheduled the necessary follow-up procedures to fully diagnose and treat this condition. The cat
continues to have severely inflamed gums. Failure to provide appropriate treatment as recommended by the attending
veterinarian can result in unnecessary discomfort.

Additionally, attempting to correct a medical condition without guidance from the attending veterinarian can lead to
increased suffering of an animal or other serious complications. Correct by ensuring that these animals are examined by a
veterinarian and ensuring that appropriate care is provided by following all of their directions for follow-up care.
Additionally, ensure that all animals are provided with appropriate methods to prevent, control, diagnose, and treat
diseases and/or injuries.




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2.40(b)(3)               Direct                Repeat
Attending veterinarian and adequate veterinary care (dealers and exhibitors).
Seven cats had medical conditions that had not been identified by the facility prior to the inspection and therefore did not
receive adequate veterinary care. These include:

 - A five-year-old adult female black tabby #643094800118623 is extremely thin. The shoulder blades, spine, and hip
bones are all easily felt with minimal overlying muscle. Along her back line, each individual vertebrae is easily
distinguishable. There is minimal fat along the rib cage. The inspector could easily encircle the spine with one hand,
allowing their fingers to touch at the bottom. Although body condition was easily determined on site by hand, her long hair
makes visual assessment difficult. She also has an area approximately 1.5 inches by 2 inches of hair loss on the back of
her neck with thickened skin. There is a 1 inch, red, superficial abrasion at the top of the exposed skin. According to the
licensee, the lesion is from breeding with the male as she is currently in heat. When asked about weight monitoring prior
to breeding, the licensee indicated that there is no plan in place to evaluate body condition of an animal prior to
rebreeding.

 - A one to two-year-old adult female tabby #990000002718714 (acquisition records are inconsistent regarding age for
this animal) is also very thin with obvious muscle loss and minimal fat. Her shoulder blades, hip bones, and spine are all
easily felt. Her body condition was easily determined when touched, but her long hair makes visual assessment difficult.
The licensee stated that this cat is typically thin, but that he had not reported her weight to the attending veterinarian nor
had he observed the degree of poor body condition. This cat is currently cohoused with a male for breeding.

 - A two-year-old adult female dilute calico #900215001896849 has eye discharge from both eyes, mild nasal discharge
from the left nose, and severely inflamed gums. The left eye has an accumulation of dried, black debris that was easily
removed on inspection. The corresponding left nostril also has some dried, black debris in the nose. The right eye has
clear discharge. At the base of every tooth, where the tooth meets the gum line, the gums are bright red and inflamed.
The licensee stated that eye crusts are normal and that he had not noticed the dental condition for this cat.

 - Four brown tabby kittens (no microchip numbers) currently housed with their dam in room 1 have runny eyes and were
observed sneezing during the inspection. Two kittens had clear eye discharge from both eyes with one kitten having
worse discharge in the right eye on the first day of inspection. On the day of exit briefing, all four kittens had discharge
from their eyes or nose. One female had mild yellow nasal and eye discharge. One male had tan nasal discharge. One
male had dried crusts on both eyes (right more than left). One male had clear watery discharge from the right eye only.
The licensee stated that small amounts of eye discharge are normal and therefore they were not under treatment.

None of these health issues were found during daily observations and none have been reported to the attending
veterinarian; there are no current treatment plans in place according to the licensee. Animals with untreated medical
conditions including underweight, respiratory, and dental problems may suffer from unnecessary pain, discomfort,
infection, and stress. Daily observations of animals to identify medical problems is essential to identify injury and illness
quickly, initiate treatment quickly, and prevent unnecessary suffering. Correct by observing all animals at least daily to
identify physical, medical, or behavioral problems. Additionally, ensure that all findings are communicated in a timely




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manner to the attending veterinarian so that they can examine animals and ensure that appropriate treatment is provided
as required by section 2.40(b)(2).
2.75(a)(1)
Records: Dealers and exhibitors.
The records for dogs and cats are missing several required components. On the 7005 record of animals on hand,
approximately 26 of cats have no gender identified on the form. Approximately 10 cats have no date of birth recorded or
approximate age at the time of import from the licensee’s business in Russia. Approximately 6 cats have no date of arrival
indicated even though they were born on property and none of these animals have an exact date of birth. The licensee
also uses cage cards to satisfy the recordkeeping requirements of new kittens born on property but the cards do not have
color/individual markings or gender. The licensee stated that these details are not added until at least 8 weeks of age.

Several animals have records that are inconsistent and inaccurate. For example, a group of 4 cats that arrived on the
premise 7/22/23 from overseas also have a date of birth 7/22/23. Another group of 6 animals that indicate they were born
on premise have an age of 8 months and arrival dates between 7/3/23 and 7/17/23. Some older animals have
approximate ages along with dates of acquisition (from being born on property) which are inaccurate. One adult male is
marked as 3 years old and arriving 3/21/22. However, if he was born on property (as indicated), he cannot be 3 years old
based on his arrival date. Another adult male is marked as 2.5 years old and arriving 7/15/2022. Again, he is marked as
being born on property which is impossible based on his age and date of arrival.

Although the 7005 form has dates recorded in the “removed or sold” and the “died or euthanized” columns the method of
disposition is not specified in either column. Failure to include the method of disposition prevents APHIS Officials from
accurately evaluating records and knowing whether individual animals were sold vs. transferred to the licensee’s property
out of country or if they died vs. were humanely euthanized.

On the 7006 disposition forms for animals sold and donated, there is no driver’s license number and license plate number
and state identified for buyers who do not have a USDA license. There were approximately 58 sales records since the last
inspection all of which were missing this information. In many instances this record specified that animals were
transported by the buyer in their vehicle, but the name for the “received by” person was different than the purchaser.
Many forms had no signature date for the date the animal was received.

Having accurate acquisition and disposition records is critical to allow inspectors to track animals both born on the
property and imported into the facility as well as those leaving the facility. Correct by August 1, 2023 by ensuring that all
required acquisition an disposition information is properly recorded and is accurate.
2.126(a)(2)
Access and inspection of records and property; submission of itineraries.
The program of veterinary care (PVC) was not available for review during the inspection. The licensee stated (and
Attending Veterinarian confirmed) that the program of veterinary care is currently under review and being revised by the
Attending Veterinarian (AV). The AV confirmed that while this revision is being completed, the Licensee should continue
to use the existing PVC. The licensee stated that he no longer had a copy of the existing PVC and therefore, it could not




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be produced for inspectors to evaluate during inspection.

The inability for APHIS Officials to access records during inspection prevents evaluation of compliance with the Animal
Welfare Act and the adequacy of care provided to animals. Additionally, caretakers being unable to reference the
veterinary guidance provided in the PVC may lead to delays in the proper diagnosis of animals and provision of adequate
medical care.

Correct by ensuring that APHIS Officials are provided access to all required records during inspections. Correct by 1
August 2023.
3.1(c)(2)
Housing facilities, general.
The elevated resting surfaces / scratching posts in the group-housed cat primary enclosures need to be replaced. There
are carpet and rope covered “cat trees” provided to the group housed cats. Several of the “cat trees” are covered with
stains, torn, and have the sisal rope unraveling. The cat trees are unable to be cleaned and sanitized and therefore
require replacement when worn or soiled. Soiled and damaged cat trees can lead harbor bacteria or viruses and therefore
lead to illness. Additionally, unraveling carpet and ropes can lead to physical injury or present hazards if pieces are
ingested. Correct by ensuring that all surfaces are maintained on a regular basis and objects that cannot be readily
cleaned and sanitized are replaced when worn or soiled. Correct by 8 August 2023.
3.1(e)                                        Repeat
Housing facilities, general.
Food is still not being stored appropriately. Food which was previously stored in a separate room, has now been moved
into a room housing 5 nursing female cats with their respective litters of kittens (total of 5 adult cats and 22 kittens). The
bags of food are currently stored on a pallet but leaning against the walls. Only food which is currently being used may be
kept in animal areas. Storage of food within animal areas complicates cleaning and may lead to contamination of food
ultimately used for other animals. Correct by ensuring that all food is stored off the floor and away from walls to allow
cleaning underneath and around the supplies and only food and bedding that is currently being used may be kept in
animal areas.
3.2(d)
Indoor housing facilities.
Several indoor cat enclosures have chewed and damaged walls and flooring which have exposed unsealed surfaces that
are permeable to moisture.
 - One indoor room, housing 5 adult cats, has a triangular section of floor in the back right corner, approximately 4 inches
x 4 inches where the plastic linoleum has been torn off the floor and chewed. The underlying wood floor has been
exposed and previously painted, but the linoleum is still being chewed, revealing more unsealed surfaces.
 - Another indoor room, housing 8 young adult cats in 4 wire enclosures has a wooden shelf built into the wall that has not
been sealed and made impervious to moisture.
 - An indoor room housing 5 adult cats with their respective litters (16 kittens total) in 5 wire enclosures has chewed and
damaged door frames around the closet, exposing unsealed and permeable wood.



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 - A room housing 3 adult cats has a chewed and scratched door frame molding, exposing approximately 1/3 of the
surface to the underlying, unsealed wood.
Surfaces permeable to moisture cannot be properly cleaned and/or sanitized as contaminated material can penetrate the
material. These surfaces can expose the cats to unnecessary disease hazards. Correct by ensuring that all floors, walls,
and any other surfaces in contact with the animals in indoor enclosures are impervious to moisture. Correct by 8 August
2023.
3.3(d)
Sheltered housing facilities.
There are two large, sheltered cat enclosures that consist of an outdoor patio section and an indoor room with a
passageway between the two. During inspection, one of the sheltered enclosures was being managed as an outdoor
enclosure with the window shut, separating a group of four adult cats inside from a group of eight adult cats outside. The
cats housed indoors were previously undergoing medical treatment and therefore were separated from those housed
outdoors only. In the outdoor portion of the enclosure, there are three cat trees which each have one, three-sided “box” for
the cats to use a shelter from the elements. There is not an adequate amount of shelter provided to all eight adult cats to
protect them from the elements. Additionally, the “boxes” provided are not very large and do not allow the animal to stand,
sit, or turn about freely. Shelter from the elements is important to maintain the health and wellbeing of the animals so they
are not exposed to varying climatic conditions. Correct by providing all animals adequate shelter from the elements at all
times and ensuring the shelter structures are large enough to allow each animal to sit, stand, and lie in a normal manner
and to turn about freely. The licensee opened the window during inspection to turn the enclosure back into sheltered
housing. Correct by 27 July 2023.
3.3(e)(1)                                    Repeat
Sheltered housing facilities.
Several surfaces in the two sheltered housing facilities have areas of permeable, unstained and unsealed material. The
ceiling and parts of the wood wall uprights in both outdoor portions (“catios”) of the two sheltered cat enclosures are
constructed of permeable, unstained and unsealed wood. In one indoor portion of a sheltered housing facility, a windowsill
has multiple chew marks, exposing unsealed wood. In the indoor portion of the second sheltered cat enclosure, the back
of the door has been chewed and scratched, exposing the unsealed wood underneath the surface. The licensee previous
sealed the front surface of the wood uprights and all shelving in the outdoor portion and added some plastic barriers to the
trim around the indoor door molding, but sections have been removed by the cats. Surfaces permeable to moisture
cannot be properly cleaned and/or sanitized as contaminated material can penetrate into the surfaces.

Having surfaces that can come in contact with the animals and cannot be properly cleaned and sanitized can expose the
cats to unnecessary disease hazards. Correct by ensuring that all outdoor areas with the animals are properly constructed
or sealed so as to be impervious to moisture and able to be properly cleaned and sanitized in accordance with 3.11(b).
3.6(b)(1)(i)                                 Repeat
Primary enclosures.
A total of 12 Adult cats and 16 kittens are currently housed in primary enclosures that do not meet the required 24-inch
height requirement. The licensee has begun replacing primary enclosures for cats that failed to meet minimum height




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requirements, however, a total of eight enclosures are currently being used that are only 20-inches tall rather than the
required 24 inches. Four of these enclosures house two recently acquired adult cats each while the remaining enclosures
house one nursing female cat each and their litter of kittens. Failure to provide adequate enclosure height (at least twenty-
four inches) prevents cats from making normal postural adjustments and can lead to unnecessary discomfort and
distress. Correct by ensuring all primary enclosures housing cats are at least 24” high.
3.6(b)(1)(ii)
Primary enclosures.
A total of 4 enclosures housing 8 weaned, young adult cats are currently housed in primary enclosures that do not meet
the required minimum floor space requirements. These enclosures measured 35.5 inches by 23.5 inches and each
contained two 5-inch diameter food/water bowls. These enclosures each provide a total of 5.5 sq. feet of floor space
(excluding the space occupied by the food and water receptacle). Each enclosure housed two recently imported young
adult cats each weighing less than 4 kg (8.8 lbs). Cats of this size require a minimum of 3 sq. feet each, making the
combined requirement 6 sq. feet per pair. The current enclosures are too small by 0.5 sq. feet. Failure to provide
minimum space prevents animals from making normal postural and social adjustments which may lead to unnecessary
discomfort, distress, and conflict with co-housed animals. Correct by ensuring that all primary enclosures housing cats
provide the minimum required floor space for each animal. Correct by 26 July 2023.
3.6(b)(1)(iv)
Primary enclosures.
A total of 4 enclosures housing 4 adult and 23 kittens do not meet generally accepted husbandry practices for the amount
of floor space required for nursing female cats and kittens. The licensee currently singly houses the majority of female
cats that are nursing kittens in wire enclosures that are either 35.5 x 23.5 inches or 41.4 x 27 inches. Nursing females and
their kittens remain in these enclosures until weaning at 8-16 weeks old. Each of these cats are Maine Coon cats which
are large bodied and long-haired cats. The kittens in each of these groups were large, active, and near weaning. Two
groups were housed in the larger enclosures (1 adult with 8 kittens and 1 adult with 5 kittens) and two groups were
housed in the smaller enclosures (1 adult with 4 kittens and 1 adult with 6 kittens). In each of these enclosures animals
were observed sitting or laying in the litter boxes. In the enclosure with 8 kittens, the adult cat had fresh feces caked in her
tail (which was cut out of the fur by the licensee after it was identified by inspectors). Additional other cats and kittens
were seen with small amounts of cat litter or dried feces on their paws. Generally accepted husbandry standards require
that animals can remove themselves from their feces or areas that they urinate and defecate. Given the size and number
of animals within these enclosures, there is not enough floor space for them to lay comfortably without having to lay in
their litterbox. Although litterboxes are cleaned regularly, there is no way to remove all feces immediately, requiring some
animals to lay on excreta causing the type of contamination observed. Additionally, there is very limited space for these
young animals to engage in age-appropriate species-typical play behavior. Failure to ensure that there is enough space to
meet generally accepted husbandry standards can result in discomfort and distress. Correct by ensuring that all cats are
provided with adequate space in accordance with generally accepted husbandry standards. Correct by 1 August 2023.
3.6(b)(4)                                      Repeat
Primary enclosures.




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Twenty-two total adult cats and 57 kittens currently have either no elevated resting surface in their enclosure or an
elevated resting surface which is insufficient for the number of animals present.

A total of 14 wire-type primary enclosures used to house 18 adult cats and 41 kittens have either no elevated resting
surface or an elevated resting surface that is of insufficient size for all occupants to rest comfortably at the same time.
Additionally, one room of four co-housed breeding female cats and their 14 kittens had no elevated resting surface. Since
the last inspection, the licensee has attempted to add a resting surface to some of the wire-type enclosures by adding a
small plastic stool to four of the enclosures. The stool is approximately 4 inches by 5 inches on the top surface. This
space is insufficient for even a single adult cat to rest comfortably. These stools were present in enclosures which housed
as many as 1 adult female cat and her litter of 8 kittens (all approximately 7 weeks old). A total of 4 adult cats and 17
kittens have these platforms that are too small, while the remainder of cats had no elevated resting surface present in
their enclosures. The licensee added a larger stool (approximately 12-14 inches by 8 inches) to an enclosure with no
resting platform that contained an adult female cat and her 4 kittens, however, this is still insufficient in size for all animals
to rest comfortably at the same time. Elevated resting surfaces allow cats to engage in species-typical behaviors and cats
that are not provided with this environmental complexity may experience unnecessary distress. Correct by ensuring that
all cats and kittens are provided with enough elevated resting surfaces of sufficient combined size to allow all occupants
of the primary enclosure to rest comfortably at the same time.
3.6(c)(1)(i)
Primary enclosures.
Five out of six dogs are not being provided with the minimum amount of space required by the Animal Welfare Act. During
a portion of the inspection dogs were observed indoors in wire-type crates. The Licensee explained that these are
temporary primary enclosures used for approximately 4-6 hours per day. The attending veterinarian has recommended
that when the outdoor temperatures exceed 80-degrees Fahrenheit the dogs be brought indoors and currently the
Licensee is accomplishing this by housing them in these crates. Each dog and their required and provided space is as
follows:

 - An adult female French bulldog, “P2,” measures 21.5 inches in length and therefore requires a total of 5.25 sq. ft. She is
currently being housed in an enclosure that measures 17.5 x 24 inches providing only 2.9 sq. feet.

 - Two adult female French bulldogs, “Roni” and “Marta” are currently housed in one wire crate. “Roni,” measures 21.5
inches in length and therefore requires a total of 5.25 sq. ft. “Marta” is 23 inches long and therefore requires an additional
5.3 sq. ft of floor space. Their combined total required space is 10.55 square feet. They are currently housed in an
enclosure that is 22 x 35 inches and provides only 5.3 sq. ft total (approximately half of the required total space).

- An adult female French bulldog, “Korzhik,” measures 23 inches in length. She requires a total of 5.8 sq. ft. Her enclosure
is 22 x 35.5 inches and provides only 5.4 sq. ft.

- An adult male French bulldog, “George,” is 20.5 inches long and therefore requires a total of 4.8 sq. ft. His enclosure
measures 17.5 x 24 inches providing only 2.9 sq. ft

Failing to provide adequate space can cause discomfort, crowding, stress, and contribute to poor sanitation or increased



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incidences of illness. Correct by ensuring all dogs are provided with at least the minimum space required by the Animal
Welfare Act. The licensee ordered new enclosures during the exit briefing. Correct by 4 August 2023.
3.6(c)(1)(iii)
Primary enclosures.
Two adult French bulldogs are in enclosures that do not provide the minimum interior height as required by the Animal
Welfare Act. All dogs require a minimum of 6 inches of clearance above the top of their heads when in a normal standing
position.

- An adult female French bulldog, “P2,” measures 16.5 inches tall when in a normal standing position. Her enclosure
measures only 19.5 inches tall, providing only 3 inches of clearance.

- An adult male French bulldog, “George,” is approximately 18 inches tall when standing. His enclosure was 19 inches tall
and his ears were observed sticking out of the top of the enclosure when he was in a normal sitting position.

Failure to provide the minimum interior height in a primary enclosure prevents normal postural adjustments, including
stretching the neck up and can lead to discomfort. Correct by ensuring all dogs are provided with at least the minimum
interior height requirements as required by the Animal Welfare Act. The licensee ordered new enclosures during the exit
briefing. Correct by 4 August 2023.
3.10(a)
Watering
The dogs housed at this facility do not currently have continuous access to potable water. During a portion of the
inspection dogs were observed indoors in wire-type crates. The Licensee explained that these are temporary primary
enclosures used for approximately 4-6 hours per day. The attending veterinarian has recommended that when the
outdoor temperatures exceed 80-degrees Fahrenheit the dogs be brought indoors and currently the Licensee is
accomplishing this by housing them in these crates. At the time of inspection, none of the dogs had access to water while
housed in the crates. The licensee stated that the dogs just spill water bowls when they are provided. Failure to provide
continuous access to potable water may lead to dehydration or discomfort of the animals. The licensee provided water to
all dogs during the inspection. Additionally, correct by ensuring that potable water is continuously available to all dogs at
all times. Correct by: 26 July 2023.
3.11(b)(2)
Cleaning, sanitization, housekeeping, and pest control.
Primary enclosures housing the cats and dogs are not being sanitized at least every two weeks. The majority of rooms
which contain free-housed groups of cats in a dedicated room have excessive accumulations of tan or brown debris on
the walls. These accumulations are typically worst around areas frequented by the cats (behind litter boxes, climbing
trees, etc). Several rooms have areas of dark brown waxy material on the window frames. Nursing female cats with their
kittens and recently acquired cats are housed (separately) in wire-type primary enclosures in separate rooms. There are
accumulations of brown debris, grey hard scale, and white litter-dust on the bars of these enclosures. The dogs are
currently being housed indoors in wire-type crates when outdoor temperatures are higher than the limit recommended by



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the Attending Veterinarian. These crates have accumulations of hair, dirt, and brown debris in the bars of the crates.
When asked, the licensee said that cat-rooms, cat enclosures, and dog crates are all sanitized with bleach monthly. All
primary enclosures, hard surfaces, food and water receptacles must be cleaned and sanitized at least every two weeks
using one of the approved methods included in 3.11(b)(3). These approved methods include a detergent followed by a
disinfectant, live steam, or water of at least 180-degrees Fahrenheit and detergent. Failure to use a detergent prior to
applying a disinfectant such as bleach, reduces the efficacy of the disinfectant. Bacteria and viruses can then remain on
surfaces in the accumulations of organic material and biofilm. Additionally, failure to clean and sanitize as frequently as
needed may also lead to additional disease transmission between animals. Correct by ensuring that all primary
enclosures and all hard surfaces that animals contact are cleaned and sanitized at least every two weeks using one of the
approved methods. Correct by 1 August 2023.
3.11(c)                                       Repeat
Cleaning, sanitization, housekeeping, and pest control.
There continues to be accumulated tools, supplies and junk in multiple areas of the facility. In the cat house at the rear of
the property, the kitchen area is cluttered with tools, household supplies and cleaners. Everything is covered in a thick
layer of dust. At the time of inspection, an adult female cat with her 4 kittens and three dogs were being housed in this
area. In the yard there was an old tire filled with water, a scrap piece of lattice, overgrown weeds, and piles of wood. The
licensee is also in the process of building new sheltered housing for the dogs and has left piles of screws and tools on the
floor. The dogs are allowed to wander the back yard without constant supervision and can come into access with all these
areas.

Piles and accumulations of materials on the premises can serve as source of illness or injury to humans and animals on
the property and encourage pests by providing areas for harborage. Correct by ensuring that animal housing facilities,
buildings and surrounding grounds are kept clean and in good repair, so as to protect animals from injury, facilitate good
husbandry practices and reduce the risk of pest breeding.
3.13(b)(2)
Veterinary care for dogs.
The medical record for an adult female French Bulldog, “Vita,” does not include required information regarding an
abnormal ear finding on physical exam. The records list an ear cytology being performed but do not describe the problem
found, full examination findings, or the result of the ear cytology. Additionally, recommended medications are listed but
crossed out without a clear plan for treatment and care.

Adequate record keeping is necessary to ensure the health of animals and to ensure that the guidance of the attending
veterinarian is being followed. Correct ensuring that full medical records are kept for all dogs and that for any future
problems identified, the date and description of the problem, examination findings, tests results, plan for treatment and
care, and treatment procedures performed. Correct by 26 July 2023.
3.13(b)(3)                                    Repeat
Veterinary care for dogs.




       Prepared By:      RACHEL PEREZ-BAUM                                                           Date:
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 Received by Title:      Licensee                                                                    Date:
                                                                                                     26-JUL-2023
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                                         United States Department of Agriculture                             RPEREZ-BAUM
                                        Animal and Plant Health Inspection Service                          INS-0000882220

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The medical records for the dogs still do not have the name and date of administration of all required vaccinations
described in the program of veterinary care. The licensee has included the most recent distemper and rabies vaccinations
administered to the dogs but there is still no record of other previous vaccinations that have been administered. According
to the attending veterinarian, the currently required vaccines for dogs are distemper, rabies, bordatella, leptospirosis, and
influenza. Adequate vaccination records including dates of prior administration are necessary to know when each animal
is due for their booster vaccinations and to ensure the frequency of administration is following the schedule set by the
attending veterinarian. Failure to maintain records of all vaccines administered can lead to missing doses of booster
vaccinations leaving dogs unprotected towards contagious diseases. Additionally, this prevents APHIS Officials from
ensuring that dogs are properly vaccinated. Correct by ensuring all dogs have records that include the name and date of
administration of each vaccine required by the program of veterinary care, including those previously administered.
3.13(b)(4)
Veterinary care for dogs.
The medical records for two dogs do not include the results of all routine examinations and diagnostic tests being
performed. The records are missing the findings/results of their yearly physical exam except for weight and temperature.
Additionally, their records indicate that a diagnostic test for heartworm, lyme, ehrlichia, and anaplasma was performed but
no results are provided. Adequate record keeping is necessary to ensure the health of animals and to ensure that the
guidance of the attending veterinarian is being followed. Correct by ensuring that full medical records are available for all
dogs and include the dates and findings/results of all screening, routine, or other required or recommended test or
examination. Correct by 1 August 2023.



This inspection and exit interview were conducted with licensee.



Additional Inspectors:

DANA MILLER, Supervisory Animal Care Specialist n




       Prepared By:      RACHEL PEREZ-BAUM                                                           Date:
                                                            USDA, APHIS, Animal Care                 26-JUL-2023
                Title:   VETERINARY MEDICAL
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 Received by Title:      Licensee                                                                    Date:
                                                                                                     26-JUL-2023
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                                        United States Department of Agriculture     Customer: 500902
                                       Animal and Plant Health Inspection Service   Inspection Date: 24-Jul-2023

                                                Species Inspected
  Cust No            Cert No    Site      Site Name                                                    Inspection
  500902            52-B-0175   001       Elena and Andrey Mikirtichev                                24-JUL-2023



Count       Scientific Name                           Common Name
000006      Canis familiaris                          DOG ADULT
000072      Felis catus                               CAT ADULT
000057      Felis catus                               CAT KITTEN

000135      Total




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